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EASTERN DISTRICT OF MICHIGAN

UNITED STATES DISTRICT COURT fF 1 le ir

 

SOUTHERN DIVISION JAN 12 2009
CLERK'S OFFICE
UNITED STATES OF AMERICA, No. 03-80406 MOS ICHIGAN,
Plaintiff, HON. GERALD E. ROSEN
-VS- OFFENSE: 18 U.S.C. § 1962(D)

CONSPIRACY TO VIOLATE
RACKETEER INFLUENCED AND
CORRUPT ORGANIZATIONS ACT

D-7 FADI MOHAMAD-MUSBAH HAMMOUD,

STATUTORY MAXIMUM PENALTIES:
20 Years’ Imprisonment
Defendant. $250,000 Fine
i
RULE 11 PLEA AGREEMENT
Pursuant to Rule 11 of the Federal Rules of Criminal Procedure, defendant FADI

MOHAMAD-MUSBAH HAMMOUD and the government agree as follows:

1. GUILTY PLEA(S)
A. Count(s) of Conviction
Defendant will enter a plea of guilty to Count 1 of the First Superseding
Indictment, which charges Conspiracy to Violation the Racketeer Influenced and Corrupt
Organizations Act, in violation of 18 U.S.C. 1962(e), and for which the penalty is 20 years’
imprisonment and/or a $250,000 fine.
B. Elements of Offense(s)
The elements of Count One are:
1. two or more persons conspired and agreed to conduct an enterprise, —
which affected interstate commerce, through a pattern of racketeering

activity;
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2. defendant deliberately joined the conspiracy having knowledge of its
purpose; and
3. defendant agreed that someone would commit at least two racketeering

acis.

C. Factual Basis for Guilty Plea(s)

The following facts are a sufficient and accurate basis for defendant's guilty plea(s):

From about May 1996 through about 1999, Defendant FAD] MOHAMAD-MUSBAH
HAMMOUD conspired and agreed with Imad Hammoud, Majid Hammoud, and others to
conduct an enterprise through a pattern of racketeering activity. Specifically, with the:
assistance and participation of FADI HAMMOUD, the conspiracy would and did procure
low taxed and untaxed contraband cigarettes from North Carolina, Kentucky and the
Cattaraugus Indian Reservation in Irving, New York and transported them to the Detroit,
Michigan area for resale in order to evade the Michigan state cigarette tax. In furtherance
of the conspiracy, FADI HAMMOUD transported and distributed some of the
conspiracy’s contraband cigarettes within the State of Michigan to the conspiracy’s
wholesale customers, sold contraband cigarettes at his own retail tobacco store,
Smoker's City, Inc., in New Baltimore, Michigan, and collected cash from the
conspiracy’s wholesale and retail customers. Some of the substantial cash profits from
these crimes were reinvested in the commissicn of other contraband cigarette trafficking

activity.
2. SENTENCING GUIDELINES

A. Standard of Proof

The Court will find sentencing factors by a preponderance of the evidence.

B. Agreed Guideline Range |

There are no sentencing guideline disputes. Except as provided below, defendant's
guideline range is 15-21 months, as set forth on the attached worksheets. If the Court
finds:

a) that defendant's criminal history category is higher than reflected on the

attached worksheets, or

 

 
 

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b) that the offense level should be higher because, after pleading guilty,
defendant made any false statement to or withheld information from his
probation officer; otherwise demonstrated a lack of acceptance of
responsibility for his offense(s); or obstructed justice or commitied any crime,

and if any such finding results in a guideline range higher than 15 to 21 months, the higher
guideline range becomes the agreed range. However, if the Court finds that defendant is
a career offender, an armed career criminal, or a repeat and dangerous sex offender as
defined under the sentencing guidelines or other federal law, and that finding is not already
reflected in the atiached worksheets, this paragraph does not authorize a corresponding
increase in the agreed range.

_Neither party may take a position concerning the applicable guidelines that is
different than any position of that party as reflected in the attached worksheets, except as

necessary to the Court's determination regarding subsections a) and b), above.

3. SENTENCE

The Court will impose a sentence pursuant to 18 U.S.C. §3553, and in doing so
must consider the sentencing guideline range.

A. Imprisonment

Pursuant to Federal Rule of Criminal Procedure 11(c)(1)(C) the sentence of
imprisonment in this case may not exceed the top of the sentencing guideline range as
determined by Paragraph 2B.

B. Supervised Release

A term of supervised release, if imposed, follows the term of imprisonment. There

 
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is no agreement on supervised release. In other words, the Court may impose any term
of supervised release up to the statutory maximum term, which in this case is 3 years. The
agreement concerning imprisonment described above in Paragraph 3A does not apply to
any term of imprisonment that results from any later revocation of supervised release.

Cc. Special Assessment

Defendant will pay a special assessment of $100 and must provide the government
with a receipt for the payment before sentence is imposed.

D. Fine

Any fine imposed by the Court shall not exceed the bottom of the applicable fine
range under the sentencing guidelines.

E. Restitution

The parties agree that the Court shall order defendant to pay restitution to the State

of Michigan in the amount of $75,000.
4. OTHER CHARGES
If the Court accepts this agreement, the government will not charge defendant with

any other offenses of which it is currently aware.

5. EACH PARTY’S RIGHT TO WiTHDRAW FROM THIS AGREEMENT

 

The government may withdraw from this agreement if the Court finds the correct
guideline range to be different than is determined by Paragraph 2B.
Defendant may withdraw from this agreement, and may withdraw his guilty plea, if -

the Court decides to impose a sentence higher than the maximum allowed by Part 3. This

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is the only reason for which defendant may withdraw from this agreement. The Court shall
advise defendant that if he does not withdraw his guilty plea under this circumstance, the

Court may impose a sentence greater than the maximum allowed by Part 3.

6. RIGHT TO APPEAL

If the sentence imposed does not exceed the maximum allowed by Part 3 of this
agreement, defendant waives any right he has to appeal his conviction or sentence. If the
sentence imposed is within the guideline range determined by Paragraph 2B the
government agrees not to appeal the sentence, but retains its right to appeal any sentence

below that range.

7. CONSEQUENCES OF WITHDRAWAL OF GUILTY PLEA(S) OR VACATION OF CONVICTION(S)

If defendant is allowed to withdraw his guilty plea(s) or if any conviction entered
pursuant to this agreement is vacated, the Court shall, on the government's request,
reinstate any charges that were dismissed as part of this agreement. If additional charges
are filed against defendant within six months after the date the order vacating defendant's
conviction or allowing him to withdraw his guilty plea(s) becomes final, which charges relate
directly or indirectly to the conduct underlying the guilty plea(s) or to any conduct reflected
in the attached worksheets, defendant waives his right to challenge the additional charges
on the ground that they were not filed in a timely manner, including any claim that they

were filed after the limitations period expired.

 

  
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8. PARTIES TO PLEA AGREEMENT
Unless otherwise indicated, this agreement does not bind any government agency

except the United States Attorney's Office for the Eastern District of Michigan.

9. SCOPE OF PLEA AGREEMENT

This agreement, which includes all documents that it explicitly incorporates, is the
complete agreement between the parties. It supersedes all other promises,
represeniations, understandings, and agreements between the parties concerning the
subject matter of this plea agreement that are made at any time before the guilty plea is
entered in court. Thus, no oral or written promises made by the government to defendant
or to the attorney for defendant at any time before defendant pleads guilty are binding
except to the extent they have been explicitly incorporated into this agreement.

This agreement does not prevent any civil or administrative actions against

defendant, or any forfeiture claim against any property, by the United States or any other

party.

 

 
  
 
   
  
   
  
  
  
 
  
  
   
 
 
   

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10. ACCEPTANCE OF AGREEMENT BY DEFENDANT
This plea offer expires unless it has been received, fully signed, in the Office of the
United States Attorney by 5:00 P.M. on January 12, 2009. The government reserves the

right to modify or revoke this offer at any time before defendant pleads guilty.

TERRENCE BERG
Acting United States Atlomey

  
   

CAL
JONATHAN TUKEL

istant United States Attorney
lef, National Security Unit

Jahon eo BOL? Ce 2
BARBARA L. MCQUADE KENNETH R. CHADWELL

Assistant United States Attorney Assistant United States Attorney
Assistant Chief, National Security Unit

Date: /-/2-97

By signing below, defendant acknowledges that he has read (or been read) this
entire document, understands it, and agrees to its terms. He also acknowledges that
he is satisfied with his attorney's advice and representation. Defendant agrees that he
has had a ful-gnd complete opportunity to confer with his lawyer, and has had all of his

 

 
 

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WORKSHEET A (Offense Levels)

 

Defendant: Fadi Hammoud Count(s): 1
Docket No.: 03-80406 Statute(s) 18 U.S.C. § 1962(d)

 

Complete one Worksheet A for each count of conviction (taking into account relevant conduct and treating each stipulated offense as a separate
count of conviction) before applying the multiple-count rules in U.S.5.G. ch. 3, pt. D. However, in any case involving multiple counts of con-
viction, if the counts of conviction are all “closely related” to each other within the meaning of U.S.8.G. § 3D1.2(d), complete only a single
Worksheet A,

1. BASE OFFENSE LEVEL AND SPECIFIC OFFENSE CHARACTERISTICS (US.S.G. ch, 2)

Guideline Section Description Levels
19
§ 2E1.1 RICO Conspiracy

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

2. ADJUSTMENTS (U.S.S.G. ch. 3, pts. A, B, C)

Guideline Section Description Levels
. oa. -2
§3B12 Minor Participant

 

 

 

 

 

 

 

 

 

 

3. ADJUSTED OFFENSE LEVEL

Enter the sum of the offense levels entered in Items 1 and 2. If this Worksheet A does not cover every count
of conviction (taking into account relevant conduct and treating each stipulated offense as a separate count of
conviction), complete one or more additional Worksheets A and a single Worksheet B.

  

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If this is the only Worksheet A, check this box and skip Worksheet B. [x]

If the defendant has no criminal history, check this box and skip Worksheet C.

 

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WORKSHEET C_ (Criminal History)

Date of defendant’s commencement of the instant offense (taking into account relevant conduct and stipulated
offenses): January 1997

1. PRIOR SENTENCES

Prior Sentence of Imprisonment Exceeding 13 Months (U.S.S.G. §§ 4A1.1(a)): 3 POINTS

Enter 3 points for each prior adult sentence of imprisonment exceeding one year and one month that either (1) was imposed within 15 years
of the defendant's commencement of the instant offenses (taking into account relevant conduct and stipulated offenses) or (2) resulted in
the defendant’s confinement during any part of that 15-year period. (See U.S.5.G, §§ 4A1.1(a), 4A1.2(d)(1), (e)(1).)

Prior Sentence of Imprisonment of at Least 60 Days (U.S.S.G. §§ 4A1.1(b)): 2 POINTS

Enter 2 points for each prior sentence of imprisonment of at least 60 days not counted under U.S.S.G. § 4A1.1(a) that either (1) resuited
from an offense committed after the defendant turned 18 and was imposed within 10 years of the defendant’s commencement of the instant
offense (taking into account relevant conduct and stipulated offenses) (see U.S.S.G. §§ 4A1.1(b), 4A1.2(e)(2}) or (2) resulted from an
offense committed before the defendant turned 18 and resulted in the defendant’s confinement during any part of the 5-year period
preceding the defendant’s commencement of the instant offense (see U.S.8.G. $§ 4A1.1(b), 4A1.2(d)(2)(A)).

Other Prior Sentences (U.S.S.G. §§ 4A1.1(c)): 1 POINT

Enter 1 point for each prior sentence not counted under U.8.8.G. § 4A1.1(a)} or (b) that either (1) resulted from an offense committed after
the defendant turned 18 and was imposed within 10 years of the defendant’s commencement of the instant offense (taking into account
relevant conduct and stipulated offenses) (see U.8.8.G. §§ 4A1.1(c), 4A1.2(¢)(2)) or (2) resulted from an offense committed before the
defendant turned 18 and was imposed within 5 years of the defendant's commencement of the instant offense (taking into account relevant
conduct and stipulated offenses} (see U.S.8.G, §§ 4A1.1(c), 4A1.2(d)(2(B)). NOTE: No more than 4 points may be added under this

 

item.
Date of ‘Release
Imposition Status* Offense Sentence Date** Points
.: . 0
5/14/98 _- Tobacco Tax Viol. Probation

 

 

 

 

 

 

 

 

 

 

* Ifthe defendant committed the offense before turning 18, indicate whether he or she was sentenced as a juvenile (J) or as an adult (A).

** A release date is required in only three situations: (1) when a sentence covered under U.S.S.G. § 4A1.1{a) was imposed more than 15 years
before the defendant’s commencement of the instant offense (taking into account relevant conduct and stipulated offenses) but resulted in his or her
confinement during any part of that 15-year period; (2) when a sentence counted under U.S.8.G, § 4A1.1(b) was imposed for an offense com-mitted
before the defendant tumed 18 but resulted in his or her confinement during any part of the 5-year period preceding his or her commence-ment of the
instant offense (taking into account relevant conduct and stipulated offenses); and (3) when 2 criminal history points are added pur-suant to U.S.S.G.
§ 4A1.1(¢) because the defendant committed the instant offense (taking into account relevant conduct and stipulated offenses) shortly after or during
imprisonment resulting from a sentence counted under U.S.S.G. § 4A1.1(a} or (b) or while he or she was on escape status for such a sentence.

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(WORKSHEET

COMMISSION OF INSTANT OFFENSE WHILE UNDER PRIOR SENTENCE (U.S.S.G. §
4A1.1(d))

Enter 2 points if the defendant committed any part of the instant offense (taking into account relevant conduct and stipulated offenses)
while under any criminal justice sentence having a custodial or supervisory component, including probation, parole, supervised release,
imprisonment, work release, and escape status, (See U.S.8.G. §§ 4A1,1(d}, 4A1.2(m), (n).) List the type of control and identify the
sentence from which it resulted.

 

 

 

 

COMMISSION OF INSTANT OFFENSE SHORTLY AFTER OR DURING IMPRISONMENT
(U.S.S.G. § 4A1.1(e))

Enter 2 points if the defendant committed any part of the instant offense (taking into account relevant conduct and stipulated offenses)
either less than 2 years after release from imprisonment on a sentence counted under U.S.8.G, §§ 4A1.1(a) or 4A41.1(b) or while in

imprisonment or escape status on such a sentence. However enter, only 1 point for this item if 2 points were added under Item 2. (See
ULS.8.G. $§ 4A1.1{e), 4A1,2(n),) List the date of release and identify the sentence ftom which it resulted,

 

 

 

 

PRIOR SENTENCE RESULTING FROM CRIME OF VIOLENCE (U.S.S.G. § 4A1.1(f)

Enter 1 point for each prior sentence resulting from a conviction for a crime of violence that did not receive any points under U.S.S.G. §
4A], 1{a), (b), or (c) because such sentence was considered related to another sentence resulting from a conviction for a crime of violence,
But enter no points where the sentences are considered related because the offenses occurred on the same occasion. (See U.S.S.G. §§
4A1,1¢f), 4A1.2(p).) Identify the crimes of violence and briefly explain why the cases are considered related. NOTE: No more than 3
points may be added under this item.

 

 

 

 

 

 

TOTAL CRIMINAL HISTORY POINTS

Enter the sum of the criminal history points entered in Items 1-4.

 

 

 

CRIMINAL HISTORY CATEGORY

Total Criminal History Points Criminal History Category

0-1 I
2-3 Il
4-6 UI
7-9 IV
10 —12 Vv
213 VI

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entered in Item 4, enter the higher criminal history category.

6.

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WORKSHEET D_ (Guideline Range)

 

 

 

 

 

(COMBINED) ADJUSTED OFFENSE LEVEL 7
Enter the adjusted offense level entered in Item 3 of Worksheet A or the combined adjusted offense level
_ entered in item § of Worksheet B.
ADJUSTMENT FOR ACCEPTANCE OF RESPONSIBILITY (U.S.S.G § 3E1.1)
-3

 

 

 

TOTAL OFFENSE LEVEL

Enter the difference between Items | and 2.

CRIMINAL HISTORY CATEGORY

Enter “I” if the defendant has no criminal history. Otherwise, enter the criminal history category
entered in Item 6 of Worksheet C.

CAREER OFFENDER / CRIMINAL LIVELIHOOD / ARMED CAREER CRIMINAL
(U.S.8.G, ch. 4, pt. B)

 

a. Total Offense Level: Ifthe career offender provision (U.S.8.G. § 4B1.1), the criminal livelihood provision
(U.5.5.G. § 4B1.3), or the armed career criminal provision (U.S.8.G. § 4B1.4) results in a total offense
level higher than the total offense level entered in Item 3, enter the higher offense level total,

 

 

b. Criminal History Category: If the career offender provision (U.S.S.G. § 4B1.1) or the armed career criminal
provision (U.S.S.G, § 4B1.4) results in a criminal history category higher than the criminal history category

 

 

 

GUIDELINE RANGE FROM SENTENCING TABLE (U.S.S.G. ch. 5, pt. A) 151021
Enter the guideline range in the Sentencing Table (see U.S.8.G. ch. 5, pt. A) produced by the total : months
offense jevel entered in Item 3 or 5.a and the criminal history category entered in Item 4 or 5.b.

STATUTORY RESTRICTIONS ON OR SUPERSESSION OF GUIDELINE RANGE

If the maximum sentence authorized by statute is below, or a minimum sentence required by statute months
is above, the guideline range entered in Item 6, enter either the guideline range as restricted by

statute or the sentence required by statute. (See U.S.8.G. § 5G1.1.} Ifthe sentence on any count of

conviction is required by statute to be consecutive to the sentence on any other count of conviction,
explain why.

 

 

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WORKSHEET E (Authorized Guideline Sentences)

1. PROBATION (U.S.S.G. ch. 5, pt. B)

a.

 

 

 

 

 

 

 

 

 

 

 

 

 

 

1.

Imposition of a Term of Probation (U.S.S.G. § 5B1.1)

Probation is not authorized by the guidelines (minimum of guideline range > 6 months or statute of
conviction is a Class A or a Class B felony). If this box is checked, go to Item 2 (Split Sentence).

Probation is authorized by the guidelines (minimum of guideline range = zero months).

Probation is authorized by the guidelines, provided the court imposes a condition or combination of
conditions requiring intermittent confinement, community confinement, or home detention satisfying
the minimum of the guideline range (minimum of guideline range > 0 months but < 6 months).

Length of Term of Probation (U.S.S.G. § 5B1.2)

At least 1 year but not more than 5 years (total offense level > 6).

No more than 3 years (total offense level < 6).

Conditions of Probation (U.S.8.G. § 5B1.3)

The court must impose certain conditions of probation and may impose other conditions of probation.

2. SPLIT SENTENCE (U.S.S.G. § 5C1.1(c)(2), (d)(2))

 

 

 

 

 

 

I a

b.

A split sentence is not authorized (minimum of guideline range = 0 months or > 10 months).

A split sentence is authorized (minimum of guideline range > 0 months but < 10 months). The court
may impose a sentence of imprisonment that includes a term of supervised release with a condition -
that substitutes community confinement or home detention for imprisonment, provided that at least
one-half of the minimum of the guideline range is satisfied by imprisonment (if the minimum of the
guideline range is 8, 9, or 10 months), or that at least one month is satisfied by imprisonment (if the
minimum of the guideline range is 1, 2, 3, 4, or 6 months). The authorized length of the term of
supervised release is set forth below in Item 4.b

3. | IMPRISONMENT (U.S.S.G. ch. 5, pt. C)

A term of imprisonment is authorized by the guidelines if it is within the applicable guideline range
(entered in Item 6 of Worksheet D). (See U.S.S.G. § 5C1.1.}

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a.

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(WORKSHEET E, p. 2)

SUPERVISED RELEASE (U.S.S.G. ch 5., pt. D)

Imposition of a Term of Supervised Release (U.S.8.G. § 5D1.1)
The court must impose a term of supervised release if it imposes a term of imprisonment of more

than one year, or if it is required to do so by statute. The court may impose a term of supervised
release if it imposes a term of imprisonment of one year or less.

Length of Term of Supervised Release (U.S.S.G. § 5D1.2)

At least 3 years but not more than 5 years, where the count of conviction is a Class A or a Class B
felony, i.e., an offense carrying a maximum term of imprisonment = 25 years.

At least 2 years but not more than 3 years, where the count of conviction is a Class C or a Class D
felony, i.e., an offense carrying a maximum term of imprisonment = 5 years but < 25 years.

1 year, where the count of conviction is a Class E felony or a Class A misdemeanor, i.e¢., an offense
carrying a maximum term of imprisonment > 6 months but < 5 years.

The statute of conviction requires a minimum term of supervised release of toonths.

. Conditions of Supervised Release (U.S.8.G. § 5D1.3)

The court must impose certain conditions of supervised release and may impose other conditions of
supervised release.

5, RESTITUTION (U.S.S.G. § 5E1.1)

 

 

 

 

 

 

 

 

 

 

 

 

 

1.

The court wil! determine whether restitution should be ordered and in what amount.

Full restitution to the victim(s) of the offense(s) of conviction is required by statute. (See, e.g., 18
U.S.C. §§ 3663A, 2327.) The parties agree that full restitution is $ .

The parties agree that the court may order restitution to the victim(s) of the offense(s) of conviction
in any amount up to and including $75,000 . (See 18 U.S.C. §§ 3663(a)(3).)

 

The parties agree that the court may afse order restitution to persons other than the victim(s) of the
offense(s) of conviction. (See 18 U.S.C. §§ 3663(a)(1)(A), 3663A(a)(3).)

Restitution is not applicable.

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(WORKSHEET E, p. 3)

FINE (U.S.S.G. § 5E1.2)

a, Fines for Individual Defendants
The court must impose a fine unless “the defendant establishes that he [or she] is unable to pay and is not
likely to become able to pay any fine.” (See U.S.S.G. § 5E1.2(a).) Generally, the fine authorized by the

guidelines is limited to the range established in the Fine Table. (See U.S.S.G. § 5E1.2(b).) However, there
are exceptions to this general rule. (See U.S.S.G. § 5E1.2(b), (c)(4).)

b. Fine Range from Fine Table (U.S.8.G. § SE1.2(c)(3))

Minimum Fine Maximum Fine

$_ 4,000 $_ 250,000

 

 

SPECIAL ASSESSMENT(S) (U.S.S.G. § 5E1.3)

The court must impose a special assessment on every count of conviction, The special assessments for individual
defendants are

$100.00 for every count charging a felony ($50.00 if the offense was completed before April 24, 1996)
$ 25.00 for every count charging a Class A misdemeanor,

$ 10.00 for every count charging a Class B misdemeanor, and

$ 5.00 for every count charging a Class C misdemeanor or an infraction.

The defendant must pay a special assessment or special assessments in the total amount of $ __ 100

ADDITIONAL APPLICABLE GUIDELINES, POLICY STATEMENTS, AND STATUTES

List any additional applicable guideline, policy statement, or statute.

 

UPWARD OR DOWNWARD DEPARTURE (U.S.5.G. ch. 5, pts. H & K)

List any applicable aggravating or mitigating circumstance that might support a term of imprisonment above or
below the applicable guideline range.

 

 

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